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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF COLORADO


    WARNER BROS. RECORDS INC., et al.,

         Plaintiffs,

    v.                                       C.A. No.: 19-cv-00874-RBJ-MEH

    CHARTER COMMUNICATIONS, INC.,

         Defendant.




               BRIEF AMICI CURIAE OF COPYRIGHT LAW PROFESSORS
                     IN SUPPORT OF DEFENDANT’S OBJECTION
                      TO MAGISTRATE’S RECOMMENDATION
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       I. Interest of Amici and Introduction

            Amici are 23 intellectual property law professors from law schools throughout the United

   States who regularly teach, research, and write about copyright law and secondary liability,

   including their application to online platforms, services, and conduits like Internet Service

   Providers (ISPs).1 Amici have no direct financial interest in the parties to or the outcome of this

   case. They do share a professional and academic interest in ensuring that copyright law develops

   in ways that properly balance the rights of copyright-owners with consumer welfare, innovation,

   and privacy.

            Amici submit this brief because they are concerned that Magistrate Hegarty’s October 13,

   2019, Recommendation (“the Recommendation”) misapplies the legal standard for the direct

   financial benefit prong of the vicarious liability test and improperly loosens the pleading standard

   in a way that would impose unprecedented risks of liability and make it nearly impossible for any

   ISP to win dismissal of bare, conclusory, and speculative allegations at the 12(b)(6) stage. If the

   Recommendation is adopted by this Court, those errors will harm other ISPs, Internet users, and

   the public at large and reduce consumer welfare and privacy.

    II. The Recommendation Misapplies the Direct Financial Benefit Requirement

            The Recommendation misapplies the legal requirement of a direct financial benefit from

   infringement in two main ways. First, it fails to properly apply the requirement that any financial

   benefit be direct rather than indirect. Specifically, infringing material must act as the actual “draw”


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    A full list of the amici can be found in the Appendix. Amici wish to thank Stanford Law
   School Certified Law Student Mondee Lu for her substantial assistance in the preparation of this
   brief.

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   – the “because” – for customers to subscribe to Charter’s services. Simply being an “added benefit”

   of being able to use the service – in this case, to access the Internet – is insufficient to establish a

   direct financial benefit. Second, the Recommendation adopts Plaintiffs’ novel argument that the

   alleged failure to police infringement can constitute the draw for subscribers, and then erroneously

   credits bare assertions and implausible labels and conclusions to find that direct financial benefit

   has been sufficiently alleged in the Complaint.

           The Recommendation begins in the right place by citing Ellison and Perfect 10 and

   acknowledging the former’s conclusion that the “‘essential aspect of the ‘direct financial benefit’

   inquiry is whether there is a causal relationship between the infringing activity and any financial

   benefit a defendant reaps . . . .’” See Recommendation at 10-11 (quoting Ellison v. Robertson, 357

   F.3d 1072, 1079 (9th Cir. 2004)); Perfect 10, Inc. v. Giganews, Inc., 847 F.3d 657, 673 (9th Cir.

   2017). But it is not merely but-for causation that is at issue. In fact, “the central question of the

   ‘direct financial benefit’ inquiry . . . is whether the infringing activity constitutes a draw for

   subscribers, not just an added benefit.” Ellison, 357 F.3d at 1079. Regarding what constitutes a

   draw, Ellison observed that because “there is usually a substantial overlap between aspects [of a

   service] that customers value and aspects [of a service] that ultimately draw the customer . . .

   Congress cautions courts that ‘receiving a one-time set-up fee and flat periodic payments for

   service … [ordinarily] would not constitute receiving a ‘financial benefit directly attributable to

   the infringing activity.”” Id. (quoting S. Rep. 105-190, at 44). Instead, it is only in cases where

   “the value of the service lies in providing access to infringing material [that] courts might find

   [such] fees to constitute a direct financial benefit.” Id. (quoting S. Rep. 105-190, at 44) (internal

   quotation marks omitted). Because there was no evidence that the defendant (AOL) “attracted or



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   retained subscriptions because of the infringement or lost subscriptions because of AOL's eventual

   [blocking] of the infringement,” there was no direct financial benefit from providing access to

   infringing material. Id.

           Perfect 10 confirms that direct financial benefit requires that the availability of infringing

   material act as a draw for subscribers. 847 F.3d at 673. It also requires that, for infringing activity

   to constitute a “draw”, any profit to the ISP must be the result of the infringement of “the plaintiff’s

   own copyrighted works” rather than of infringement in general. Id. at 673-74 (“Perfect 10 was

   required to provide evidence that customers were drawn to Giganews’s services because of the

   infringing Perfect 10 material at issue.”). Because there was no evidence that Giganews “attracted

   subscriptions” or that “anyone subscribed” to it because of specific infringing Perfect 10 material,

   but rather only that “some subscribers joined . . . to access infringing material generally,” there

   was no direct financial benefit. Id. at 674.

           These cases, and one other relied on in the Recommendation, UMG Recordings, Inc. v.

   Grande Communications Networks, LLC, should resolve the instant case in favor of dismissal. See

   No. A-17-CA-365-LY, 2018 WL 1096871 (W.D. Tex. Feb. 28, 2018), report and recommendation

   adopted by 2018 WL 1905124 (Mar. 28, 2018). In UMG, a case much like this one, the court

   dismissed vicarious infringement claims against an ISP by a group of record labels because

   allegations that “the availability of music—and particularly UMG's music—acts as a powerful

   draw for users of Grande's service, who use that service to download infringing music files using

   BitTorrent protocols,” were not sufficient to establish a direct financial benefit from infringement.

   Id. at *10. As in the current case, allegations that infringement was the “draw” for subscribers were

   insufficient; finding otherwise “would impose liability on every ISP, as the music at issue is



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   available on the Internet generally, as is the BitTorrent protocol, and is not something exclusively

   available through Grande's services.” Id.

          At the core of these and prior cases is the distinction between aspects of a service that are

   just an “added benefit” as opposed to a “draw” for consumers. This distinction is especially critical

   for ISPs like Charter whose service is providing access to the entire Internet. There is no plausible

   basis to believe that “the value of [Charter’s] service lies in providing access to infringing material,”

   Ellison, 357 F.3d at 1079, rather than in providing access to the Internet’s vast array of information,

   platforms, communications, tools, services, functionalities, and more that all subscribers value in

   varying degrees for varying reasons. Access to this universe of content and services is the draw

   for subscribers, and the use by some subscribers of some portion of that service to download

   infringing material can only plausibly be seen as an added benefit of the service. This is especially

   true with ISPs, like Charter, because subscribers pay the same flat monthly rate for a particular

   level of service irrespective of whether, or how often, they infringe.

          The Recommendation errs when it misapplies these requirements for the direct benefit

   prong to the Complaint in this case. The allegations on which the Recommendation relies fall far

   short of showing the necessary direct, causal relationship between infringing activity and financial

   benefit. Rather, most of them describe legal, efficient, and socially desirable features of Charter’s

   service. See, e.g., Recommendation at 11; Compl. ¶ 75 (Charter’s ads tout its “blazing-fast” speeds

   that allow users to download “just about anything” efficiently, and customers are motivated to

   subscribe to obtain that high-quality service “for everything you do online” at a flat monthly fee).

   Any ISP that seeks to give its customers high-quality Internet access – in other words, every

   successful ISP – will provide and advertise features like these because they are valued by all



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   Internet users whether they engage in infringement or not. ISPs that enable access to all content

   on a neutral basis are merely conduits, and offering faster, more robust transmission of content is

   essential for them to provide excellent customer service and to remain competitive.2

           In the face of the inability to show that “the value of [Charter’s] service lies in providing

   access to infringing material,” Plaintiffs attempt an end-run around the direct financial benefit

   requirements. They rely on a single line in the UMG opinion to construct the novel argument that

   Charter’s alleged failure to police significant infringing activity by its subscribers itself constitutes

   the draw for subscribers. Compl. ¶ 91. The Recommendation adopts this approach and seeks to

   distinguish this case from UMG, Ellison, and Perfect 10 on this basis. See Recommendation at 12

   (finding UMG distinguishable because the UMG court noted that the plaintiffs in that case did not

   allege that Grande’s failure to police infringement acted as a draw to subscribers). But UMG did

   not conclude that such allegations, had they been made, would have been sufficient to make

   infringement the draw for subscribers, 3 nor did it evaluate what sorts of allegations might be

   necessary to constitute the required direct causal link. Nor has any other court.




   2
     See BMG Rights Mgmt. (US) LLC v. Cox Communs, 199 F.Supp.3d 958, 992 (E.D. Va. 2016),
   rev’d in part on other grounds, 881 F.3d 293, 298 (4th Cir. 2018) (upholding jury’s finding of no
   direct financial benefit where ISP Cox charged a flat monthly fee, and noting the fact that “a
   certain percentage of its subscribers use peer-to-peer software to acquire music does not, without
   more, establish that those same subscribers were drawn to Cox’s service on that basis or that Cox
   has a financial interest in that activity. The same is true of Cox advertisements that promoted fast
   download speeds. . . . [H]igh speed is a concern of virtually all consumers in selecting Internet
   service . . . .”).
   3
     The Recommendation also relies on Tomelleri v. Zazzle, Inc., No. 13-CV-02576-EFM-TJJ,
   2015 WL 8375083 (D. Kan. Dec. 9, 2015), to support its ruling. But that court found there was
   “no evidence that infringement is a draw to zazzle.com users” even though Zazzle failed to
   police infringement that was reported to it and profited from that infringement. Id. at *3-5, *15.



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          In any event, the Recommendation errs in finding Plaintiffs’ allegations sufficient to plead

   that Charter’s infringement policies were a draw to subscribers. First, most of the allegations on

   which it relies state two separate facts or events but do not allege an actual causal connection from

   one to the other. For example, the Complaint alleges that: Charter condoned infringement and

   Charter’s customers “in turn, purchased more bandwidth and continued using Charter’s services

   to infringe,” Compl. ¶ 77 (no specific allegation of causation); that subscribers are “motivated”

   by Charter’s ads about its fast service, Recommendation at 11 (same); that subscribers “have used

   [Charter’s] service to ‘pirate,’” Compl. ¶ 77 (same); Recommendation at 12 (same); that the

   greater the bandwidth used for infringement, “the more money [Charter] made,” Compl. ¶ 77

   (same); Recommendation at 12 (same); and that infringing subscribers “knew” of Charter’s alleged

   policies and subsequently either remained subscribers or purchased increased bandwidth. Compl.

   ¶¶ 77, 91; Recommendation at 12 (same). But even assuming these assertions of consumer

   behavior or knowledge of the policies are true, the Complaint does not allege that infringing

   subscribers gave any consideration of, or weight to, them in their decisions to either begin, continue,

   or upgrade their Internet subscriptions. Plaintiff’s allegations are too general because the bottom

   line for Internet users – the “draw” for them to subscribe – is that speed and bandwidth are

   increasingly essential for everything that users do online, quite apart from any alleged infringement.

          Second, the handful of allegations that do try to suggest a direct causal link contain nothing

   more than conclusory assertions or “threadbare recitals,” “supported by mere conclusory

   statements.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). See, e.g., Compl. ¶ 77 (“the illegal

   activity . . . acted as a draw to attract and retain new and existing subscribers”); Compl. ¶ 91

   (Charter’s “failure to police its infringing subscribers adequately was a draw to subscribers to



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   purchase Charter’s services”). These allegations are at best “labels and conclusions,” Bell Atl. Corp.

   v. Twombly, 550 U.S. 544, 555 (2007), designed to avoid the clear holdings of Ellison, Perfect 10,

   UMG, and other cases. There are no plausible, credible allegations in the Complaint that Charter’s

   alleged failure to police infringement was a deciding factor that caused individuals to start,

   continue, or upgrade their subscriptions (if they even had a choice of ISP in the first place), nor

   that there is a causal link between the alleged infringement of defendants’ music (as opposed to

   infringement generally) and any financial benefit in the form of new or incremental revenue for

   Charter.

   III. The Recommendation’s Reasoning Would Harm Other ISPs, Internet Users, and the Public
        at Large and Reduce Consumer Welfare and Privacy

          The Recommendation’s misapplication of the direct financial benefit analysis would cause

   considerable harm to other ISPs, consumers, and the public. One reason vicarious liability doctrine

   has thus far evolved in a measured and cautious way is that enforcement and deterrence at the ISP

   conduit level would have far more wide-reaching negative consequences than enforcement and

   deterrence at the individual infringer, content-host, or application-provider levels (e.g., individual

   websites or platforms like YouTube, Napster, etc.). Conduits like ISPs do not host content or

   channel customers to specific web sites; they should pass all Internet traffic along in a neutral

   fashion. ISPs should not be forced into the role of copyright enforcers. But infringement litigation

   initiated by large copyright owners like Plaintiffs has progressed from targeting platforms and

   hosting providers to targeting ISPs, as in this case, BMG, and UMG.

          Under the relaxed pleading standard adopted by the Recommendation, it would be difficult

   or impossible for any ISP accused of vicarious infringement to have the claims dismissed at the

   12(b)(6) stage, no matter how meritless the claim of direct financial benefit. A plaintiff could


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   prevent an ISP defendant from efficiently ending a vicarious infringement case by doing nothing

   more than adding a threadbare, conclusory or speculative allegation that failure by the ISP to

   terminate infringers acted as a “draw” to infringement. ISPs would be forced either to endure

   protracted, expensive and burdensome litigation beyond the 12(b)(6) stage or, to avoid that burden,

   to over-enforce and over-deter possible infringing activity by users.

           But just like telephone or power companies, ISPs are poorly positioned to police illegal use

   of their services. To avoid vicarious liability, ISPs would be compelled to undertake content and

   activity policing functions for which they are ill-suited. Unlike hosting companies, which can take

   down particular content once it is identified as infringing, ISPs have a very limited set of actions

   they can take to control alleged infringement. Their primary tool, to terminate accused subscribers

   from the Internet altogether – basically to turn service off or on – will lead to remedies

   disproportionate to any violation. Consumers, whether they personally engage in infringing

   conduct or not, could be subject to wholesale termination of their Internet access based on

   unproven allegations of infringement occurring at the IP address through which they connect to

   the Internet. And entities through which multiple users connect to the Internet through an IP

   address, such as shared residences, schools, businesses, libraries, etc., could lose their entire access

   due to alleged infringement by a single user. The impact of such a severe response is especially

   worrisome given how central the Internet is to communication, public discourse, work, education,

   commerce, civic participation, and more.

           Moreover, ISPs could be forced to engage in privacy-invasive monitoring of their

   subscribers’ Internet activity. It is very difficult to distinguish between legitimate and illegitimate

   traffic of content without invasively examining the content of all traffic to discern whether it is



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   legitimate or not. As a result, the personal activities and data of all subscribers – the vast majority

   of whom do not infringe, as well as the non-infringing traffic of those who sometimes do – could

   suffer serious privacy harms by being indiscriminately monitored and scrutinized as part of these

   enforcement efforts. ISPs should not be compelled to violate their subscribers’ important privacy

   interests in this way.

           For the foregoing reasons, amici respectfully urge the Court to overrule the Magistrate’s

   Recommendation.


           November 11, 2019
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                                         APPENDIX

         Amici curiae are the law professors listed below. Affiliation is provided for

   identification purposes only; all signatories are participating in their individual

   capacity and not on behalf of their institutions.


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                                  CERTIFICATE OF SERVICE

           The undersigned hereby certifies that on this 11th day of November, 2019, a true and
   correct copy of the foregoing MOTION OF AMICI CURIAE COPYRIGHT LAW
   PROFESSORS FOR LEAVE TO FILE AMICI BRIEF IN SUPPORT OF DEFENDANT’S
   OBJECTION TO MAGISTRATE’S RECOMMENDATION and BRIEF OF AMICI CURIAE
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   Dated: November 11, 2019
